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. April 10%, 2021

To Whom it May Concarn,

My name Is John Khater, and Julian Khater is my brother.

| was devastated to hear the news that my brother had been detained in connection with
the events and the rally on January 6th at the Capital In Washington, DC. | know my
brother better than anyone, as | am only thirteen months younger than him, We were
basically raised together and people thought we were twins.

My brother Julian is not the person portrayed in the news. The person | have had to
read about is the opposite of my brother. He was always kind and protective of me, and
lam sure | can speak for of all his siblings, cousins, and friends on that matter. He has
never been an activist for anything. He had never attended a rally before. He is quiet
and shy. He never even raises his voice. He is the kindest io children, and the chosen
Godfather of many, many of our family’s young in the next generation.

Julian has only ever been a caring, funny, thoughtful, compassionate, empathetic and
protective brother. | cannot believe what is being said and circulated about him. This is *
not who Julian is in any way, shape, or form.

Please do not hesitate to contact me if you need any further information about my dear
brother.
Sincerely,

John Khater
pF

 

 
